              Case
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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                     SEATTLE DIVISION
 9   TERESA ANDERSON,                                  Case No. 2:20-cv-01457-RSL
10                 Plaintiff,                          ORDER GRANTING STIPULATED
11          vs.                                        MOTION FOR EXTENSION OF
                                                       TIME FOR DEFENDANT TO
12   THE LINCOLN NATIONAL LIFE                         RESPOND TO PLAINTIFF’S
     INSURANCE COMPANY,                                COMPLAINT FOR BREACH OF
13                                                     CONTRACT, BAD FAITH, AND
                   Defendant.                          VIOLATION OF THE INSURANCE
14
                                                       FAIR CONDUCT ACT
15

16

17          Plaintiff Teresa Anderson (“Plaintiff”) and Defendant The Lincoln National Life

18   Insurance Company (“Lincoln”) have filed their Stipulated Motion for Extension of Time for an

19   extension of time, up through and including November 16, 2020, for Lincoln to answer or

20   otherwise respond to Plaintiff’s Complaint For Breach of Contract, Bad Faith, and Violation of

21   the Insurance Fair Conduct Act (“Complaint”).

22          IT IS HEREBY ORDERED that Defendant shall answer or otherwise respond to

23   Plaintiff’s Complaint no later than Novemberr 16, 2020.

24
     DATED:       October 20      , 2020
25
                                                     JUDGE ROBERT S. LASNIK
26                                                   UNITED STATES DISTRICT COURT
     ORDER GRANTING STIPULATED                     OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     MOTION FOR EXTENSION OF TIME FOR                     1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     DEFENDANT TO RESPOND TO                                      Phone: 206-693-7052 | Fax: 207-387-2986
     PLAINTIFF’S COMPLAINT - 1
     Case No. 2:20-cv-01457-RSL
              Case
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 2   OGLETREE, DEAKINS, NASH,
 3   SMOAK & STEWART, P.C.

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     Attorneys for Defendant The Lincoln National
 9   Life Insurance Company
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11   Approved as to Form; Presentation Waived

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     Attorneys for Plaintiff Teresa Anderson
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     ORDER GRANTING STIPULATED                  OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     MOTION FOR EXTENSION OF TIME FOR                  1201 Third Avenue, Suite 5150 | Seattle, WA 98101
     DEFENDANT TO RESPOND TO                                   Phone: 206-693-7052 | Fax: 207-387-2986
     PLAINTIFF’S COMPLAINT - 2
     Case No. 2:20-cv-01457-RSL
